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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

RUSSELL E. PARKER                    §
                                     §
VS.                                  §    CIVIL ACTION NO.4:06-CV-694-Y
                                     §
AMERICAN AIRLINES, INC.              §

                     ORDER DENYING MOTION TO DISMISS

      Plaintiff Russell E. Parker filed suit in state court alleging

handicap and disability discrimination and workers’ compensation

retaliation in violation of Texas and federal laws.1                 Defendant

American Airlines, Incorporated (“American”), removed the action to

this Court, and subsequently filed a motion to dismiss (doc. #4)

under Federal Rule of Civil Procedure 12(b)(6) and 12(c). American

contends that Parker’s claims are preempted by the Railway Labor

Act, 45 U.S.C. § 181 (“RLA”).         After review of the pleadings, the

Court concludes that the RLA does not preclude or preempt Parker’s

federal and state-law causes of action.



I.    Factual Background

      American is an air carrier falling under the RLA. See Golston

v. American Airlines, Inc., No. 4:02-CV-713-Y, 2004 U.S. Dist.

LEXIS 17843, at *1 (N.D. Tex. Sep. 7, 2004)(Means, J.); 45 U.S.C.

§ 181.    Under the RLA, the National Mediation Board (“NMB”) has

certified the Transport Workers Union of American (“TWU”) as the

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        American also contends that Parker has made a claim for wrongful
termination in violation of public policy. In his response to American’s motion
to dismiss, Parker explains that he was “not asserting a wrongful discharge claim
and his reference to public policy in his pleading were to statutory state-law
claims for disability discrimination and Texas workers’ compensation
retaliation.” (Pl.’s Resp. Mot. Dismiss at 8 n.2.) Thus, the Court concludes
that Parker has not asserted a cause of action for wrongful discharge in
violation of public policy under Texas law.
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statutory      collective-bargaining              representative     for    certain

employees     of     American.     American        and   TWU   are   parties   to   a

collective-bargaining agreement (“CBA”) dated April 15, 2003.

      Parker was an employee of American and a former member of TWU.

He   worked    for     American   as   an       aircraft-maintenance    technician

(“AMT”).      The terms and conditions of Parker’s employment were

governed by the CBA between American and TWU.

      In February 2003, Parker suffered an on-the-job injury when he

fell down the stairs of a jet bridge.                     His injuries required

substantial medical treatment and caused him to take a leave of

absence.      According to Parker, his medical treatment primarily

focused on his physical injuries caused by his fall.

      Parker fully recovered from his injuries and his doctors gave

him a complete release to return to work in April 2005.                    Upon his

return, American required Parker to undergo a series of tests to

measure his cognitive skills.              Based on the results of the tests,

American      placed    Parker    on   a    permanent     work   restriction    and

prohibited Parker from performing any duties that required his

sign-off of mechanical flight releases.                  Because of the restric-

tion, Parker was no longer allowed to resume his duties as an AMT

because it required mechanical flight release sign-offs.

      When Parker learned of his restriction, he applied for the

lesser-skilled and lower-paying position of parts washer.                      This

position, according to Parker, was a manual-labor position and did

not require the use of cognitive skills.                       Parker claims that

American approved his application in September 2005, but subse-

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quently refused to transfer him to the new position. Parker claims

that American refused to reinstate him to a wide variety of jobs

that he could perform despite his disability.               As a result, Parker

contends that he was effectively terminated by American.                 Parker

never filed any grievance with American or his union.



II.   Analysis

A.    Standards

1.    Rule 12(b)(6)—Failure to State a Claim

      A motion to dismiss under Rule 12(b)(6) for a failure to state

a claim “is viewed with disfavor and is rarely granted."                 Kaiser

Aluminum & Chem. Sales v. Avondale Shipyards, Inc., 677 F.2d 1045,

1050 (5th Cir. 1982)(internal quotations and citations omitted).

The court must accept as true all well pleaded, non-conclusory

allegations in the complaint, and must liberally construe the

complaint in favor of the plaintiff. See Kaiser Aluminum, 677 F.2d

at 1050.    However, conclusory allegations, unwarranted deductions

of fact, or “legal conclusions masquerading as factual conclusions

will not suffice to prevent [the granting of] a motion to dismiss.”

Fernandez-Montes v. Allied Pilots Ass’n, 987 F.2d 278, 284 (5th Cir.

1993); see Spiller v. City of Texas City, Police Dept., 130 F.3d

162, 167 (5th Cir. 1997); Associated Builders, Inc. v. Alabama Power

Co., 505 F.2d 97, 100 (5th Cir. 1974).         “Dismissal is proper if the

complaint    lacks   an   allegation       regarding    a    required   element

necessary to obtain relief.”       Blackburn v. City of Marshall, 42

F.3d 925, 930 (5th Cir. 1995).             A court should not dismiss a

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complaint for failure to state a claim unless it appears beyond

doubt from the face of the plaintiff’s pleadings that he cannot

prove any set of facts in support of his claim that would entitle

him to relief.     See Hishon v. King & Spalding, 467 U.S. 69, 73

(1984); Garrett v. Commonwealth Mortgage Corp., 938 F.2d 592, 594

(5th Cir. 1991); Kaiser Aluminum, 677 F.2d at 1050.



2.     Rule 12(c)—Judgment on the Pleadings

       “The standard for dismissal under Rule 12(c) is the same as

that   for   dismissal   for   failure   to   state    a   claim   under   Rule

12(b)(6).”    Johnson v. Johnson, 385 F.3d 503, 528 (5th Cir. 2004).

Rule 12(c) provides that, “after the pleadings are closed but

within such time as not to delay the trial, any party may move for

judgment on the pleadings.”      FED.R.CIV.P. 12(c).       “A motion brought

pursuant to [Rule 12(c)] is designed to dispose of cases where the

material facts are not in dispute and a judgment on the merits can

be rendered by looking to the substance of the pleadings and any

judicially noticed facts.”         Great Plains Trust Co. v. Morgan

Stanley Dean Witter & Co., 313 F.3d 305, 312 (5th Cir. 2002).

       In engaging in such a review, the Court must look only at the

pleadings; construe the pleadings liberally; and, in analyzing a

complaint, accept all well pleaded facts as true and in light most

favorable to the plaintiff.        Id. at 312.         Consequently, relief

pursuant to Rule 12(c) may not be granted “unless the plaintiff

would not be entitled to relief under any set of facts that he

could prove consistent with the complaint.”            Johnson, 385 F.3d at

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528 (citing Great Plains Trust, 313 F.3d at 313).

           The issue is not whether the plaintiff will
           ultimately prevail, but whether he is entitled
           to offer evidence to support his claim. Thus,
           the Court should not dismiss the claim unless
           the plaintiff would not be entitled to relief
           under any set of facts or any possible theory
           that he could prove consistent with the alle-
           gations in the complaint.

Great Plains Trust Co., 313 F.3d at 313.


B.   Discussion

1.   Preemption of State-Law Claim of Texas Workers’ Compensation
     Retaliation

     The RLA, which was amended in 1936 to cover the airline

industry, establishes a mandatory arbitral mechanism for resolving

disputes “‘growing out of grievances or out of the interpretation

or application of agreements concerning rates of pay, rules, or

working conditions.’” Hawaiian Airlines, Inc. v. Norris, 512 U.S.

246, 248 (1994)(quoting 45 U.S.C. § 153 First (i)).              “Congress’

purpose in passing the RLA was to promote stability in labor-

management relations by providing a comprehensive framework for

resolving labor disputes.”     Id. at 252. But not all labor disputes

grounded in state law are preempted by RLA’s mandatory arbitration

provisions.     See Id. at 257 (“‘We hold that the enactment by

Congress of the [RLA] was not a preemption of the field of

regulating    working   conditions   themselves    .   .   .   .’”)(quoting,

Terminal Railroad Assn. of St. Louis v. Trainmen, 318 U.S. 1, 6

(1943)).      Instead, the RLA limits the “preemption of claims,

including state-law claims, to those involving the interpretation


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or application of a CBA.”      Hirras v. Amtrak, 44 F.3d 278, 281 (5th

Cir. 1995)(citing Hawaiian Airlines, 512 U.S. at 256).                  Thus,

“‘substantive protections provided by state law, independent of

whatever labor agreement might govern, are not preempted under the

RLA.’” Hirras, 44 F.3d at 282 (quoting Hawaiian Airlines, 512 U.S.

at 257).

     Parker’s state-law claims include a cause of action for

retaliation for filing a workers’ compensation claim.               American

contends   that   the   RLA   completely   preempts     Parker’s   claim   of

retaliation because it requires the application and interpretation

of, and is inextricably intertwined with, the provisions of the CBA

between American and TWU.      Parker, on the other hand, argues that

his claim is independent of the CBA and does not require its

application or construction.

     Section 451.001 of the Texas Labor Code provides that “a

person may not discharge or in any manner discriminate against an

employee because the employee has . . . filed a workers’ compensa-

tion claim in good faith . . . .”        TEX. LAB. CODE § 451.001.     Parker

bears the initial burden of proof and must demonstrate a casual

link between the adverse employment action that he has suffered and

the workers’ compensation claim—“an element of [his] prima-facie

case . . . .”     Chhim v. University of Houston, et al., 76 S.W.3d

210, 218 (Tex.App.—Texarkana [6th Dist.] 2002, pet. denied).               In

other words, Parker must show that “but for” his institution of a

workers’ compensation claim, American’s adverse employment action

“would not have occurred when it did.”         Id.

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     Proof of causation can be made by circumstantial evidence or

by reasonable inferences drawn from the evidence.                   Benners v.

Blanks Color Imaging, Inc., 133 S.W.3d 364, 369 (Tex.App.—Dallas

[5th Dist.] 2004, no pet.). Parker can satisfy this burden without

proving American discriminated against him solely because of his

workers’ compensation claim.       Chhim, 76 S.W.3d at 218.             Instead,

Parker need only show     “that the institution of [his claim] was at

least a determining factor in the discriminatory conduct.”                 Id.

     Once Parker has established his prima-facie case, the burden

shifts to American “to establish a valid, nondiscriminatory reason

for that action.” Id. at 220. American’s valid and nondiscrimina-

tory reason must demonstrate that its adverse employment action

against   Parker   “was   unrelated       to   [his]    pursuit    of   workers’

compensation benefits.” Id. Thereafter, the burden shifts back to

Parker to prove that American’s proffered reason for their adverse

employment action “was a pretext for discrimination . . . .”

Benners, 133 S.W.3d at 369.        Thus, the bottom line for a Texas

workers’ compensation retaliation claim is whether retaliatory

conduct occurred.

     The gravamen of Parker’s claim is that after his injury, after

filing a claim for workers’ compensation, and after fully recover-

ing and being cleared by his doctors to return to work, American

discriminated   and   retaliated    against       him     by   administering      a

fitness-for-duty medical test, subsequently imposing work restric-

tions that prevented him from returning to work in his former

position as an AMT, and refusing to transfer him to a lesser-

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skilled and -paying position that did not violate the imposed work

restrictions.   Parker contends this retaliatory and discriminatory

conduct by American effectively terminated his employment.

      American responds by arguing that the test they administered

was allowed for under the CBA. American also contends that the CBA

governs the qualifications for job positions and transfers.             And

American claims that while Parker was on his leave of absence, it

began a reduction-in-force and layoffs in accordance with the CBA.

Had Parker not been in a leave-of-absence status, American contends

he would have been laid off, but then would be eligible to exercise

any bumping or transfer rights under the CBA.              Thus, American

argues that resolution of this claim necessarily involves the

construing and applying of the CBA.       The Court disagrees.

      A   similar   issue   was   addressed   in   Anderson   v.   American

Airlines, Inc, 2 F.3d 590 (5th Cir. 1993).             Although Anderson

predates the Supreme Court’s decision in Hawaiian Airlines, the

Court applied the same standard: “whether [the plaintiff’s] state-

law claim requires an interpretation of the CBA.” Anderson, 2 F.3d

at 596.    The question presented in that case was whether the RLA

preempted Anderson’s state-law claim of Texas workers’ compensation

retaliation.    Id. at 592.       The Court concluded that it did not.

Id.

      The Court reasoned that “the basic issue in [a workers’

compensation retaliation claim] is whether a retaliatory discharge

occurred. Resolution of this issue does not require an interpreta-

tion of the CBA.”     Id. at 596 (internal quotations and citations

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omitted).     The Court, further, recognized that even though either

party may use the CBA to support the credibility of its claims,

“such reliance does not show that an interpretation of the CBA is

necessary to resolve” the workers’ compensation retaliation claim.

Id.

             In other words, although American may defend
             against Anderson’s . . . claim by arguing that
             its actions were justified by the CBA and its
             rules . . ., such reliance does not necessar-
             ily transform Anderson’s . . . claim into a
             claim that requires an interpretation of the
             CBA.

Id. at 596-97.     This Court sees no reason to conclude differently

here.

        The Supreme Court has made clear, “the bare fact that a [CBA]

will be consulted in the course of a state-law litigation plainly

does not require the claim to be extinguished.” Hawaiian Airlines,

512 U.S. at 261 n.8.       The Supreme Court has also made clear that

state-law rights and obligations that exist independently of the

CBA are not preempted.         Id. at 260.           And the Supreme Court has

emphasized that the RLA “does not grant the parties to a [CBA] the

ability to contract for what is illegal under state law. . . . [It]

would be inconsistent with congressional intent . . . to preempt

state    rules   that   proscribe    conduct,        or   establish   rights     and

obligations,     independent    of   a       labor   contract.”       Id.   at   261

(internal quotations and citations omitted).

        Parker’s rights under the Texas workers’ compensation statute

and American’s obligations under it are completely independent of

any CBA. What the statute proscribes is any discriminatory conduct

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on the part of an employer in retaliation for an employee’s

exercising his rights under the statute.                On the face of the

pleadings, such an inquiry does not require an interpretation or an

application of the CBA. By contrast, it requires the resolution of

a    factual   question:    Was   American’s   adverse    employment    action

against Parker caused and motivated by his decision to file a

workers’ compensation claim? Thus, the fact that American may have

acted completely within the bounds of the CBA is irrelevant if its

motivation to apply the relevant provisions of the CBA was Parker’s

filing of a workers’ compensation claim.               See Lingle v. Norge

Division of magic Chef, Inc., 486 U.S. 399, 407 (1988).2 Thus, the

Court holds that the RLA’s mandatory arbitration provisions do not

preempt Parker’s Texas workers’ compensation retaliation claim.



2.       Disability Discrimination Under the Americans with Disabili-
         ties Act (“ADA”) and the Texas Commission on Humans Rights
         Act (“TCHRA”)

        Arbitral boards established under the RLA enjoy exclusive

jurisdiction to resolve all disputes requiring the construction or

application of a CBA regardless of whether the dispute involves a

state-law claim or a federal claim.            Tice v. American Airlines,

Inc., 288 F.3d 313, 314 (7th Cir. 2002)(Posner, J.).             When applied

to a state-law claim, the RLA is said to preempt.            But when applied




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        In Lingle, the Supreme Court held that an Illinois workers’ compensation
retaliatory discharge claim was not preempted because it involved purely
questions of fact and did not require the interpretation of a CBA. Lingle, 486
U.S. at 407, 411.

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to a federal claim, the RLA is said to “preclude.”3               See Hawaiian

Airlines, 512 U.S. at 259 n.6; Tice, 288 F.3d at 314(holding RLA

precluded federal age-discrimination claim); Rodee v. American

Airlines, Inc., No. 4:03-CV-1193-Y, 2004 WL 2866969 *2 (N.D. Tex.

2004)(Means, J.)(holding RLA precluded federal age-discrimination

claim).

      Under    both   federal    and   Texas   statutes,     an   employer    is

prohibited from discharging or otherwise discriminating against an

employee because of a disability.           Hartis v. Mason & Hanger Corp.,

7 S.W.3d 700, 702 (Tex.App.—Amarillo [7th Dist.] 1999, no pet.);

see also Holtzclaw v. DSC Communications Corp., 255 F.3d 254, 258

(5th Cir. 2001). To establish a prima-facie case, Parker must show

that (1) he suffers from a disability as defined by the statutes;

(2) that he was qualified for his job; (3) that he experienced an

adverse employment action; and, (4) that American replaced him with

a nondisabled person or treated him less favorably than nondisabled

employees.    See Daigle v. Liberty Life Insurance Co., 70 F.3d 394,

396 (5th Cir. 1996); Wal-Mart Stores, Inc. v. Canchola, 121 S.W.3d

735, 739 (Tex. 2003).

      Like    the   workers’    compensation     retaliation      claim   above,



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         Many courts have used the term “preemption” when analyzing whether the
RLA’s provision for mandatory arbitration of claims involving the interpretation
or application of a CBA forecloses a federal court from deciding federal claims.
“Preemption,” however, is a legal term of art that refers to the application of
the principles of federalism to determine whether certain federal laws take
precedence over and displace state laws. See BLACK’S LAW DICTIONARY 1177 (6th ed.
1990).    Federalism concerns do not inform a court’s evaluation of the
compatibility of two or more federal statutes. Thus, for precision’s sake, the
better term when deciding whether the RLA’s mandatory arbitration provision
forecloses a federal court from adjudicating other federal claims is
“preclusion.”

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Parker’s disability claims under both federal and state law do not

require the Court to construe or apply the CBA.                     And like his

workers’ compensation claim above, the inquiry is a factual one.

Thus, on the face of the pleadings, Parker’s disability discrimina-

tion claims can be resolved without any reference to the CBA.

            The ADA provides a more extensive and broader
            ground for relief, specifically oriented
            towards the elimination of discriminatory
            employment practices, and, thus, is not pre-
            empted by the [RLA]. . . . Because federal
            law, and not the [CBA], is the source of [a
            plaintiff’s] discrimination claim, the RLA
            does not [preclude] the claim.

Pittari v. American Eagle Airlines, Inc., 468 F.3d 1056, 1061 (8th

Cir. 2006)4; Saridakis v. United Airlines, 166 F.3d 1272, 1277 (9th

Cir. 1999)(holding RLA did not preclude airline mechanic employee’s

ADA claim); but see Brown v. Illinois Central R.R., 254 F.3d 654,

664-65 (7th Cir. 2001)(holding RLA precluded ADA claim because

interpretation of CBA was dispositive of ADA claim).                Accordingly,

the Court holds that the RLA does not preclude and preempt Parker’s

federal and state disability discrimination claims.

III. Conclusion

      For   the   reasons    stated   above,    the    Court      concludes   that

Parker’s    federal    and   state-law      claims    are   not    precluded   or

preempted by the RLA’s mandatory arbitration mechanism.                  Accord-




      4
         In Pittari, American Eagle argued, unsuccessfully, that Pittari’s ADA
claim was dependent on an interpretation of the CBA because the CBA set forth the
standards and procedures for determining whether a flight attendant should be
removed from flight status due to an impairment. Pittari, 468 F.3d at 1060.

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ingly, American’s motion to dismiss [doc. #4] is DENIED.5

      SIGNED April 3, 2007.




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         The Court emphasizes that its decision is made in the context of a Rule
12(b)(6) and Rule 12(c) motion to dismiss.       Should the evidence establish,
however, that an interpretation and application of the CBA would be dispositive
of any one of Parker’s claims, an appropriate Rule 56 motion for summary judgment
may be filed at the appropriate time under the Court’s initial scheduling order.
See Golston, 2004 U.S. Dist. LEXIS 17843 at *9; see also Brown, 254 F.3d at 664-
65 (“We feel that the best way to harmonize these two statutes is to allow a
plaintiff employee to bring an ADA claim in federal court against his employer
(even if his employment is governed by a CBA which is subject to the RLA), unless
the resolution of his ADA claim requires the court to interpret the CBA’s terms
as a potentially dispositive matter.”)(Emphasis in original.).

TRM/flg                                13
